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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

United States of America, et al.
                                          Plaintiff,
v.                                                       Case No.: 1:19−cv−07289
                                                         Honorable Ronald A. Guzman
Sterling Capital Partners, L.P., et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, April 9, 2021:


        MINUTE entry before the Honorable Ronald A. Guzman: Defendant Kaplan,
Inc.'s motion for an extension of time to answer or otherwise plead [26] is granted in part.
Kaplan, Inc. shall answer or otherwise plead no later than May 20, 2021. Mailed notice.
(kp, )




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